                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 17-10439-BKM
CHRIS DANIEL CHACON, SR.                                                                                   Chapter 13
LUCILLE MENDOZA CHACON
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: admin                        Page 1 of 2                          Date Rcvd: Sep 11, 2017
                                      Form ID: 309I                      Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 13, 2017.
db/jdb         +CHRIS DANIEL CHACON, SR.,    LUCILLE MENDOZA CHACON,    5825 S. BECK AVENUE,
                 TEMPE, AZ 85283-1621
tr              RUSSELL BROWN,   CHAPTER 13 TRUSTEE,    SUITE 800,    3838 NORTH CENTRAL AVENUE,
                 PHOENIX, AZ 85012-1965
14697771       +Banner Desert Medical Center,    P.O. Box 2978,    Phoenix AZ 85062-2978
14697772       +Collection Service Bur,    Csb Systems/Attn:Bankruptcy,    Po Box 310,   Scottsdale AZ 85252-0310
14697774        Cox Communication,    P.O. Box 37937,   Phoenix AZ 85069
14697778       +Eos Cca,   700 Longwater Dr,    Norwell MA 02061-1624
14697780       +Jerold Kaplan Law Offices, PC,    2738 E. Washington Street,    Phoenix AZ 85034-1423
14697781       +Mark A. Kirkorsky, P.C.,    P.O. Box 25287,   Tempe AZ 85285-5287
14697784       +Rancho Murietta,   1717 S. Dorsey,    Tempe AZ 85281-7004
14697785       +Southern Hills Acceptance, LLC,    2901 W Macarthur Blvd St,    Santa Ana CA 92704-6910
14697786       +Southern Hills Acceptance, LLC,    P.O. box 25570,    Santa Ana CA 92799-5570
14697787       +Tiffany & Bosco, P.A.,    2525 E. Camelback Road, Ste 700,    Phoenix AZ 85016-9240
14697791      ++WELLS FARGO BANK NA,    WELLS FARGO HOME MORTGAGE AMERICAS SERVICING,
                 ATTN BANKRUPTCY DEPT MAC X7801-014,    3476 STATEVIEW BLVD,    FORT MILL SC 29715-7203
               (address filed with court: Wells Fargo Home Mortgage,      8480 Stagecoach Cir,
                 Frederick MD 21701)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ecf@mcdonaldlawaz.com Sep 12 2017 02:02:25       JAMES R. MCDONALD, JR.,
                 MCDONALD LAW OFFICE, PLLC,    1907 E BROADWAY, #1,   TEMPE, AZ 85282
smg             EDI: AZDEPREV.COM Sep 12 2017 01:58:00      AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
14697769       +EDI: AZDEPREV.COM Sep 12 2017 01:58:00      Arizona Department of Revenue,
                 Attn: Bankruptcy/Litigation Section,    1600 West Monroe, Room 720,     Phoenix AZ 85007-2650
14697770       +E-mail/Text: bankruptcy.notices@arizonafederal.org Sep 12 2017 02:04:04
                 Arizona Federal Credit Union,    Attn: Risk Management,    Po Box 60070,    Phoenix AZ 85082-0070
14697773       +EDI: CONVERGENT.COM Sep 12 2017 01:58:00      Convergent Outsoucing, Inc,     Po Box 9004,
                 Renton WA 98057-9004
14697775       +EDI: RCSFNBMARIN.COM Sep 12 2017 01:58:00      Credit One Bank Na,     Po Box 98873,
                 Las Vegas NV 89193-8873
14697776       +EDI: ESSL.COM Sep 12 2017 01:58:00      Dish Network,    P.O. Box 7203,    Pasadena CA 91109-7303
14697777       +EDI: DCI.COM Sep 12 2017 01:58:00      Diversified Consultant,    Dci,    Po Box 551268,
                 Jacksonville FL 32255-1268
14697779        EDI: IRS.COM Sep 12 2017 01:58:00      Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia PA 19101-7346
14697782       +EDI: MID8.COM Sep 12 2017 01:58:00      Midland Funding,    8875 Aero Drive, Ste. 200,
                 San Diego CA 92123-2255
14697788       +EDI: VAND.COM Sep 12 2017 01:58:00      Vanderbilt Mortgage,    Attn: Bankruptcy Dept,
                 P.O. Box 9800,   Maryville TN 37802-9800
14697789        EDI: VERIZONWIRE.COM Sep 12 2017 01:58:00      Verizon Wireless,    P.O. Box 96082,
                 Bellevue WA 98009-9682
14697790       +EDI: WFFC.COM Sep 12 2017 01:58:00      Wells Fargo Auto Finance,    Attn: Bankruptcy,
                 Po Box 29704,   Phoenix AZ 85038-9704
14697792       +EDI: WFFC.COM Sep 12 2017 01:58:00      Wells Fargo Home Mortgage,     P.O. Box 10335,
                 Des Moines IA 50306-0335
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
14697783          Rancho Murietta
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 13, 2017                                            Signature: /s/Joseph Speetjens


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District/off: 0970-2         User: admin                  Page 2 of 2                  Date Rcvd: Sep 11, 2017
                             Form ID: 309I                Total Noticed: 27

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 11, 2017 at the address(es) listed below:
              JAMES R. MCDONALD, JR.   on behalf of Joint Debtor LUCILLE MENDOZA CHACON ecf@mcdonaldlawaz.com
              JAMES R. MCDONALD, JR.   on behalf of Debtor CHRIS DANIEL CHACON, SR. ecf@mcdonaldlawaz.com
              RUSSELL BROWN    ecfmailclient@ch13bk.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 4




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Information to identify the case:
Debtor 1                 CHRIS DANIEL CHACON SR.                                                 Social Security number or ITIN    xxx−xx−2244

                         First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _
Debtor 2                 LUCILLE MENDOZA CHACON                                                  Social Security number or ITIN    xxx−xx−8709
(Spouse, if filing)
                         First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Arizona
                                                                                                 Date case filed for chapter 13 9/5/17
Case number:          2:17−bk−10439−BKM



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/15


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)


To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         CHRIS DANIEL CHACON SR.                                       LUCILLE MENDOZA CHACON

2. All other names used in the
   last 8 years
                                              5825 S. BECK AVENUE                                           5825 S. BECK AVENUE
3. Address                                    TEMPE, AZ 85283                                               TEMPE, AZ 85283
                                              JAMES R. MCDONALD JR.                                         Contact phone 480−968−3100
4. Debtor's  attorney
   Name and address
                                              MCDONALD LAW OFFICE, PLLC
                                              1907 E BROADWAY, #1
                                                                                                            Email: ecf@mcdonaldlawaz.com

                                              TEMPE, AZ 85282

5. Bankruptcy trustee                         RUSSELL BROWN                                                 Contact phone 602−277−8996
     Name and address                         CHAPTER 13 TRUSTEE                                            Email: mail@ch13bk.com
                                              SUITE 800
                                              3838 NORTH CENTRAL AVENUE
                                              PHOENIX, AZ 85012−1965

6. Bankruptcy clerk's office                                                                                Office Hours: 9:00 am − 4:00 pm
     Documents in this case may be filed                                                                    Monday−Friday
     at this address.                         U.S. Bankruptcy Court, Arizona
     You may inspect all records filed in     230 North First Avenue, Suite 101
                                              Phoenix, AZ 85003−1727
     this case at this office or online at                                                                  Contact Phone: (602) 682−4000
      www.pacer.gov.
                                                                                                            Date: 9/11/17
                                                                                                                  For more information, see page 2




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Debtor CHRIS DANIEL CHACON SR. and LUCILLE MENDOZA CHACON                                                                   Case number 2:17−bk−10439−BKM

7. Meeting of creditors
    Debtors must attend the meeting to     October 18, 2017 at 09:00 AM                                      Location:
    be questioned under oath. In a joint
    case, both spouses must attend.                                                                          US Trustee Meeting Room, 230 N. First
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.                Avenue, Suite 102, Phoenix, AZ
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 12/18/17
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 1/16/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 3/5/18
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has not filed a plan as of this date. A copy of the plan or summary and a notice of the hearing on
                                           confirmation will be sent separately.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                           later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                           hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                           exemptions in line 8.




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